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AO 98 (Rev. 12111) Appearance Bond                                                                                                            page I


                                       UNITED SlAms DIsTRIcT CouRT FILED IN OPEN COURT
                                                  for the              U.S.D.C. Atlanta
                                                            Northern District of Georgia                                         MAR 21 2016
                    United States of America                               )
                                  V.                                       )                                              JAMES N, HATTEN1 Clerk
                                                                           )       Case No.                                 6-CR-99 Deputy Clerk
____
_____——                  BENNETT   KIGHT
                            Defendant                                      )


                                                              APPEARANCE BON1~

                                                             Defendant’s Agreement
I,   BENNETT KIGHT                                              (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
               X )       to appear for court proceedings;
               X )       if convicted, to surrender to serve a sentence that the court may impose; or
               X )       to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                                   Type of Bond
          (1) This is a personal recognizance bond.

( )C ) (2) This is an unsecured bond of$ 5GX2,tDOO

      ) (3) This is a secured bond of$ ___________________________ ,secured by:

             )   (a) $     __________________           ,   in cash deposited with the court.

                 (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                 (describe the cash or other property, including claims on it — such as a lien, mortgage, or loan   —   and attach proof of
                  ownership and value):



                  If this bond is secured by real property, documents to protect the secured interest may be filed of record.

                 (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and ident(/5’ the surety):




                                                     Forfeiture or Release of the Bond

Forfeiture ofthe Bond This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order ajudgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security wil! be released when either: (I) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.
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AO 98 (Rev   2 II) Appearance Bond                                                                                                    Page 2



                                                          Declarations

Owners hip of the Property. I, the defendant      and each surety   —   declare under penalty of perjury that:

         (1)       all owners of the property securing this appearance bond are included on the bond;
         (2)       the property is not subject to claims, except as described above; and
         (3)       I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
                   while this appearance bond is in effect.
Acceptance. I, the defendant and each surety have read this appearance bond and have either read all the conditions
                                                   —


of release set by the court or had them explained to me. I agree to this Appearance Bond. I, the defendant and each            —


surety declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)


Date:   411A.tt 2—~/~ .20/k

         (I) Surety property owner gp~nted name
                                                                  _~a44ia4 itt                                           3/74
                                                                            (I) Surety/property oyjjJr — signature and date
                                                                                                                                   L1c0

         (I) Surety property owner ~s address                               (I) Surety praperty owner s city state/zip




         (2) Surety property owner printed name                             (2) Surety/property owner     signature an    ae



         (2) Surety/property owner ~ address                                (2) Surety property owners city/state zip




         (3) Surety property owner printed name                             (3) Surety property owner     signature and date



         (3) Surety/property owner ~ ad&ess                                 (3) Surety property owner s city/state/zip




                                                                CLERK OF COURT


        5/.24   f~                                                                Signature ofClerk or Deputy Clerk

                                                          APPROVED

        3/zg         fi~
                                                                                                           States Magistrate Judge
